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                                        CURRICULUM VITAE

                                  MARIA ROSANA PONISIO, M.D.

Date: July 07, 2020

Citizenship: Argentina         Visa Status: Permanent Resident

Contact Information
      Office:                  Division of Nuclear Medicine
                               Mallinckrodt Institute of Radiology
                               Washington University School of Medicine
                               Campus Box 8223
                               510 South Kingshighway Blvd
                               St. Louis, MO 63110
                               Phone (314) 362-2863
                               Fax (314) 362-2806
                               mrponisio@wustl.edu

       Home:
                               St. Louis, MO
                               (314) 727-5779 (Home)
                               (314) 489-3270 (Cell)

Present Position
                               Assistant Professor of Radiology, Division of Nuclear Medicine
                               Program Director, Nuclear Medicine Residency Program
                               Mallinckrodt Institute of Radiology
                               Washington University School of Medicine
                               St. Louis, MO 63110

                               Board of Directors, Society of Nuclear Medicine and Molecular Imaging

Education
      Undergraduate:                         Degree in Medicine (MD)
      01/1984 – 03/1990                      Facultad de Ciencias Médicas de la Universidad Nacional
                                             de La Plata, Buenos Aires, Argentina

       Residency:                            Medical Residency in Radiology
       06/1990 – 05/1994                     Children’s Hospital Sor Maria Ludovica,
                                             La Plata, Buenos Aires, Argentina

       Specialist Degree:                    Specialist in Pediatric Radiology (Degree)
       06/1994 – 05/1996                     Instituto Universitario de Ciencias Biomédicas,
                                             Fundación Universitaria Dr. Rene G. Favaloro,
                                             Buenos Aires, Argentina.
                                             Thesis Title: Neuro-ultrasonography of Developmental
                                             Abnormalities of the Central Nervous System in Newborns

       Visiting Fellowships:
       07/1999 – 09/1999                     Visiting Fellowship in Neuroradiology
                                                                                     August 27, 2021


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                                    St. Louis Children’s Hospital
                                    St. Louis, Missouri, USA (three months)

      11/2000 – 11/2000             Visiting Fellowship in Neuroradiology
                                    Hospital for Sick Children
                                    Toronto, Ontario, Canada (one month)

      2002 - 2003                   Visiting Fellowship in Neuroradiology
                                    Fundacion para la Lucha contra Enfermedadse
                                    Neurologicas de la Infancia (FLENI)
                                    Buenos Aires, Argentina

      10/2005 – 10/2007             Visiting Radiologist/Observer
                                    St Louis Children Hospital
                                    St. Louis Missouri, USA

      Fellowships:
      07/2008 – 06/2010             Neuroradiology
                                    Mallinckrodt Institute of Radiology
                                    Washington University School of Medicine
                                    St Louis, Missouri, USA

      07/2010 – 06/2011             Pediatric Radiology
                                    Mallinckrodt Institute of Radiology
                                    Washington University School of Medicine
                                    St Louis, Missouri, USA

      07/2011 – 06/2013             Nuclear Medicine (Chief Resident 2012-2013)
                                    Mallinckrodt Institute of Radiology
                                    Washington University School of Medicine
                                    St Louis, Missouri, USA

Academic Positions/Employment
     07/2017 – Present              Assistant Professor
                                    Nuclear Medicine Section
                                    Mallinckrodt Institute of Radiology
                                    Washington University School of Medicine
                                    St. Louis, Missouri

      04/2016 – 06/2017             Instructor in Radiology
                                    Nuclear Medicine Section
                                    Mallinckrodt Institute of Radiology
                                    Washington University School of Medicine
                                    St. Louis, Missouri

      12/2014 – 04/2016             Clinical Researcher
                                    Department of Energy (DOE) training grant,
                                    Mallinckrodt Institute of Radiology
                                    Washington University School of Medicine

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                                        St. Louis, Missouri

      07/2013 – 12/2013                 Senior Scientist
                                        Mallinckrodt Institute of Radiology
                                        Washington University School of Medicine
                                        St. Louis, MO 63130

      1999 – 06/2005                    Chief of Pediatric Neuroradiology
                                        Department of Radiology
                                        Children’s Hospital Sor Maria Ludovica
                                        La Plata, Buenos Aires, Argentina

      1996 - 1999                       Attending Physician in Radiology
                                        Department of Radiology
                                        Children’s Hospital Sor Maria Ludovica
                                        La Plata, Buenos Aires, Argentina

      06/1994 – 1996                    Attending Physician (Provisional) in Radiology
                                        Department of Radiology
                                        Children’s Hospital Sor Maria Ludovica
                                        La Plata, Buenos Aires, Argentina


University and Hospital Appointments and Committees:
      04/2016-present                  Attending, Division of Nuclear Medicine, Washington
                                       University School of Medicine, St. Louis, MO

      04/2019-present                   Program Director, Nuclear Medicine Residency Program,
                                        Washington University School of Medicine, St. Louis, MO

      04/2016-03/2019                   Assistant Program Director, Nuclear Medicine Residency
                                        Program, Washington University School of Medicine, St.
                                        Louis, MO

      2016-present                      Member, Clinical Competency Committee, Diagnostic
                                        Radiology Residency Program, Washington University
                                        School of Medicine, St. Louis, MO

      2016-present                      Member, Clinical Competency Committee, Nuclear
                                        Medicine Residency Program, Washington University
                                        School of Medicine, St. Louis, MO

      2017-present                      Medical Student Education Team, Mallinckrodt Institute of
                                        Radiology, Washington University School of Medicine, St.
                                        Louis, MO

      2019-present                      Radiology Residency Curriculum Review and Revision,
                                        Washington University School of Medicine, St. Louis, MO


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      2019-present                     ACGME Radiology Residency Program Self-Study,
                                       Washington University School of Medicine, St. Louis, MO

      2019-present                     Developing Faculty Competencies in Assessment Group,
                                       Washington University School of Medicine, St. Louis, MO

      04/2019                          Nuclear Medicine Program Director's Summit, SNMMI,
                                       Baltimore, MD

      2019-2020                        Nuclear Medicine Committee, Society for Pediatric
                                       Radiology (SPR)

      2020-2023                        Continue Education Committee, Society for Nuclear
                                       Medicine and Molecular Imaging (SNMMI)

      2020-present                     Executive Diversity Committee (EDC), MIR Office of
                                       Diversity, Equity, and Justice, MIR, Washington University
                                       School of Medicine, St. Louis, MO

Medical Licensure and Board Certification
      Medical Licensure:                07/2008 Missouri (Permanent)

      Board Certification:             10/2013   American Board of Nuclear Medicine
                                       11/2014   American Board of Radiology
                                       10/2020   American Board of Nuclear Medicine (MOC)

Honors and Awards
      11/2016                          Cum Laude Award
                                       Electronic Education Exhibit
                                       Current and Future Directions in Pediatric PET/MRI
                                       MR Ponisio, G Khanna, J McConathy.
                                       102nd Scientific Assembly and Annual Meeting of the
                                       Radiological Society of North America
                                       November 27 – December 2, 2016

      06/2018                          Summa Cum Laude
                                       Education Exhibit Award
                                       Simultaneous PET/MRI Neuroimaging in Pediatric
                                       Epilepsy: Our Experience at Mallinckrodt Institute of
                                       Radiology, Saint Louis, Missouri
                                       M Ponisio, M Parsons, M Miller-Thomas, M Smyth

      11/2018                          Certificate of Merit Award
                                       104th Scientific Assembly and Annual Meeting of the
                                       Radiological Society of North America
                                       November 25 – November 30, 2018
                                       68Ga-DOTATATE PET Neuroimaging: A Case-Based
                                       Pictorial Review
                                       Fang M. Zhu, MD, PhD, Maria R. Ponisio, MD

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       6/2020                             Finalist Posted for Award
                                          Clinically significant incidental findings in nuclear
                                          medicine
                                          SNMMI 2020 annual meeting
                                          Paul-Robert Derenoncourt MD, M.R. Ponisio, MD

       6/2021                             Applications of PET/MRI in Pediatric Patients
                                          SNMMI 2020 annual meeting
                                          Paul-Robert Derenoncourt MD, M.R. Ponisio, MD

       6/2021                             Distinguished Teacher for 2020/2021 by the Mallinckrodt
                                          Institute radiology residents


Editorial Responsibilities
                             Reviewer for the Following Journals:
                                   Pediatric Radiology
                                   European Journal of Nuclear Medicine and Molecular Imaging
                                   OncoTargets and Therapy Journal
                                   Journal of Pediatric Hematology and Oncology
                             Abstract reviewer SNMMI 2019
                             RSNA Case Collection

Community Service Contributions
                         Professional Societies and Organizations:
                                Society of Nuclear Medicine and Molecular Imaging
                                American College of Radiology
                                Radiological Society of North America
                                Sociedad Argentina de Radiologia

Major Invited Professorships and Lectureships

       09/2009                            Invited International Speaker
                                          55th Argentine Congress of Radiology
                                          Buenos Aires, Argentina
                                          Presented Lectures:
                                          Congenital Malformations of the Central Nervous Systems
                                          (CNS)
                                          Neonatal Hypoxic-Ischemic Encephalopathy: Correlation
                                          between Ultrasound and Magnetic Resonance Imaging
                                          Clinical Cases: Manifestations of Neuropathology in Adults
                                          More Frequently Observed in Children

       09/2010                            Invited International Speaker
                                          56th Argentine Congress of Radiology
                                          Buenos Aires, Argentina
                                          Presented Lectures:
                                          Pediatric Stroke
                                          Pediatric Spinal Lesions

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      05/2017                       Invited National Speaker
                                    2017 Society for Pediatric Radiology Annual Meeting
                                    Sunrise Session
                                    Vancouver, British Columbia, Canada
                                    Presented Lectures:
                                    Pediatric PET/MRI: Current and Future Directions
                                    PET/MR in Pediatric Oncology

      02/2019                       Invited International Speaker
                                    XXI Congreso Internacional de Avances en Medicina
                                    Guadalajara, Mexico
                                    Presented Lectures:
                                    PET CT-MRI in Oncology: case-reviewed approach
                                    PET/MRI in pediatric oncology
                                    PET/MRI in neuro imagines: case-reviewed approach
                                    PET/MRI at Washington University in St Louis, MO

      05/2019                       Invited National Speaker:
                                    UTMB Diagnostic Radiology Cooley Visiting Professor
                                    Board Review lectures and noon conferences


      09/2019                       Invited National Speaker
                                    Epilepsy Update: 2019
                                    Continuing Medical Education
                                    Washington University in St Louis
                                    Lecture: SPECT and PET in Epilepsy

      01/2020                       Invited International Speaker
                                    Neuroimaging in MRI/PET symposium
                                    Bariloche, Argentina

      03/2020                       Invited National Speaker
                                    High Country Nuclear Medicine Conference
                                    Sun Valley, Idaho, USA

      05/2020                       Invited National Speaker
                                    Annual Meeting & Postgraduate Course
                                    Society of Pediatric Radiology
                                    Miami, Florida, USA

      12/2020                       Invited National Speaker:
                                    UTMB Diagnostic Radiology Cooley Visiting Professor
                                    Board Review lectures and noon conferences

      9/2021                        Invited International Speaker
                                    Argentinean Annual Meeting of radiology,
                                    Buenos Aires Argentina.

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       10/2021                             International Teleconference Program
                                           Faculty member

                                           Use of PET-CT in alternative pathology of thorax

10/2021                                    Invited International Speaker
                                           Thoracic oncology course
                                           Federation Argentina de Asociaciones de Radiologia,
                                           Diagnostic por imagines y Terapia Radiante (FAARDIT)

Consulting Relationships and Board Memberships
      04/2014                         Avid Radiopharmaceuticals, Amyvid PET imaging study
      07-08/2018                      Avid Radiopharmaceuticals, TAU PET imaging study


Research

       Support:
             Co-director, NIH/NCI Cancer Center Support P30 CA091842; “Imaging Response
       Assessment Core (IRAC)”, 07/01/2015 – 06/30/2020, Principal Investigator, T. Eberlein

Teaching Title and Responsibilities

       2017-present          Medical student instructor in Radiology Instructor (Nuclear Medicine
                             Section), Mallinckrodt Institute of Radiology Washington University
                             School of Medicine

       2018-present          Adult Epilepsy Fellowship Neuroimaging Elective Instructor (Nuclear
                             Medicine Section) Washington University School of Medicine

       2019-present          Residency Program Director, Division of Nuclear Medicine Washington
                             University School of Medicine




Bibliography

Peer-Reviewed Journal Articles

1.   Ponisio R, Bertolotti J, Unchalo F. Hypoxic-Ischemic Encephalopathy in Neonatal. Ultrasonus
     Clínicas 2000; 1:195-204.

2.   Ponisio R, Bertolotti J, Unchalo F. Neonatal Hypoxic-Ischemic Encephalopathy: Achievements,
     Trends and Disputes. Infantile Medicine 2001; 8:37-41.

3.   Agnosti MR, Azark MA, Morales JCD, Demkura H, Drut R, Ponisio R, Ayala SEG.
     Cryptococcosis of the Central Nervous System. Ludovica Pediátrica 2001; 3:135-139.

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4.   Ibañez O, Ucar ME, Ponisio MR, Bertolotti J, Devred P, Ortega O. Ultrasound Imaging of
     Abdominal Pain in Henoch-Schönlein Purpura (HSP). Sintesis Radiologica 2003; 13:110-112.

5.   Esteban M, Ferreyra ML, Brogiolo MO, Aguilar LI, Sarti MM, Ponisio MR. Shaken Baby
     Syndrome (SBS). Ludovica Pediátrica 2004; 6:26-33.

6.   Ponisio MR, Esteban M, Jones M, Ucar ME, Ibañes O. Child Abuse: Appropriate Diagnosis of
     Endocraneal Lesions. Sintesis Radiologica 2005; 15:3-9.

7.   An H, Ford AL, Vo K, Eldeniz C, Ponisio R, Zhu H, Li Y, Chen Y, Powers WJ, Lee JM, Lin W.
     Early changes of tissue perfusion after tissue plasminogen activator in hyperacute ischemic stroke.
     Stroke 2011; 42:65-72.

8.   Ford AL, An H, D'Angelo G, Ponisio R, Bushard P, Vo KD, Powers WJ, Lin W, Lee JM.
     Preexisting Statin Use is Associated with Greater Reperfusion in Hyperacute Ischemic Stroke.
     Stroke 2011; 42:1307-13.

9.   Thangarajh M, Yang G, Fuchs D, Ponisio MR, McKinstry RC, Jaju A, Noetzel MJ, Casella JF,
     Barron-Casella E, Hooper WC, Boulet SL, Bean CJ, Pyle ME, Payne AB, Driggers J, Trau HA,
     Vendt BA, Rodeghier M, DeBaun MR. Magnetic Resonance Angiography-defined Intracranial,
     Vasculopathy is Associated With Silent Cerebral Infarcts and Glucose-6-phosphate
     Dehydrogenase Mutation in Children with Sickle Cell Anemia. Br J Haematol 2012; 159:352-9.

10. An H, Ford AL, Chen Y, Zhu H, Ponisio R, Kumar G, Modir-Shanechi A, Khoury N, Vo KD,
    Williams JA, Derdeyn CP, Diringer MN, Panagos P, Powers WJ, Lee JM, Lin W Defining the
    Ischemic Penumbra using Magnetic Resonance Oxygen Metabolic Index. Stroke 2015; 46:982-
    988.

11. Ponisio MR, McConathy J, Laforest R, Khanna G. Evaluation of diagnostic performance of whole
    body simultaneous PET/MRI in pediatric lymphoma. Pediatric Radiology 2016; 46:1258-68.

12. Gauvain K, Ponisio MR, Barone A, Grimaldi M, Parent E, Leeds H, Goyal M, Rubin J,
    McConathy J. 18F-FDOPA PET/MRI for monitoring early response to bevacizumab in children
    with recurrent brain tumors. Neurooncol Pract. 2018 Mar;5(1):28-36. doi: 10.1093/nop/npx008.
    Epub 2017 May 25. PMID: 29692922.

13. Day G, Gordon B, Jackson K, Christensen J, Ponisio MR, Su Y, Ances B, Benzinger T, Morris J.
    Tau PET binding distinguishes patients with early-stage posterior cortical atrophy from amnestic
    Alzheimer disease dementia. Alzheimer Disease & Associated Disorders: April–June 2017; 31:
    87–93. doi: 10.1097/WAD.0000000000000196

14. Hassanzadeh C, Rao YJ, Chundury A, Rowe J, Ponisio MR, Sharma A, Miller-Thomas M, Tsien
    CI, Ippolito JE. Multiparametric MRI and FDG PET Imaging is a Potential Prognostic Imaging
    Biomarker in Recurrent Glioblastoma. Front Oncol. 2017 Aug 18; 7:178. PMID: 28868256

15. Day GS, Gordon BA, Jackson K, Christensen JJ, Ponisio MR, Su Y, Ances BM, Benzinger TLS,
    Morris JC Tau-PET Binding Distinguishes Patients With Early-stage Posterior Cortical Atrophy


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     From Amnestic Alzheimer Disease Dementia.. Alzheimer Dis Assoc Disord. 2017 Apr-Jun;
     31(2):87-93. doi: 10.1097/WAD.0000000000000196. PMID: 28394771

16. Choudhury N, Ponisio MR, McKinstry RC, Jordan LC, Rodeghier M, Pruthi S, DeBaun MR.
    Intracranial Vasculopathy is Associated With Cerebral Infarct Recurrence in Children With Sickle
    Cell Anemia, Silent Strokes, and Normal Transcranial Doppler Velocities. Accepted for
    publication, British Journal of Haematology, Oct 2018; 183(2):324-326. doi: 10.1111/bjh.14979.
    Epub 2017 Oct 26.

17. Gregory Scott Day , Brian Andrew Gordon, Richard J Perrin, Nigel J. Cairns, Helen Beaumont,
    Katherine Schwetye, Cole J Ferguson, Namita Sinha, Robert C Bucelli, Erik S. Musiek, Nupur
    Ghoshal, Maria Rosana Ponisio, Benjamin Vincent, Shruti Mishra, Kelley Jackson, John C.
    Morris, Tammie L.S. Benzinger, and Beau M Ances. In vivo [18F]-AV-1451 tau-PET imaging in
    sporadic Creutzfeldt-Jakob disease. Neurology Mar 2018, 90 (10) e896-e906; doi:
    10.1212/WNL.0000000000005064.

18. Lori C. Jordan, Dionna O. Roberts Williams, Mark J. Rodeghier, Brittany V. Covert Greene MPH,
    Maria R. Ponisio, James F. Casella. Robert C. McKinstry, Michael J. Noetzel, Fenella J.
    Kirkham, Emily R. Meier, Beng Fuh, Melissa McNaull, Sharada Sarnaik, Suvankar Majumdar,
    Timothy L. McCavit, Michael R. DeBaun. Children with sickle cell anemia with normal
    transcranial Doppler ultrasounds and without silent infarcts have a low incidence of new strokes.
    Am J Hematol. 2018;00:1–9. https://doi.org/10.1002/ajh.25085

19. Deepika S. Darbari, Odianosen Eigbire-Molen, Maria R. Ponisio, Mikhail V. Milchenko, Mark
    J. Rodeghier, James F. Casella, Robert C. McKinstry, and Michael R. DeBaun. Progressive Loss of
    Brain Volume in Children with Sickle Cell Anemia and Silent Cerebral Infarct: A Report from the
    Silent Cerebral Infarct Transfusion (SIT) Trial. Am J Hematol. 2018 Dec;93(12):E406-E408. doi:
    10.1002/ajh.25297. Epub 2018 Oct 26 PMID: 29076125

20. Choudhury NA, DeBaun MR, Ponisio MR, Jordan LC, Rodeghier M, Pruthi S, McKinstry RC.
    Intracranial vasculopathy and infarct recurrence in children with sickle cell anaemia, silent cerebral
    infarcts and normal transcranial Doppler velocities. Br J Haematol. 2018 Oct;183(2):324-326. doi:
    10.1111/bjh.14979.

21. Darbari DS, Eigbire-Molen O, Ponisio MR, Milchenko MV, Rodeghier MJ, Casella JF,
    McKinstry RC, DeBaun MR. Progressive loss of brain volume in children with sickle cell anemia
    and silent cerebral infarct: A report from the silent cerebral infarct transfusion trial. Am J Hematol.
    2018 Dec;93(12):E406-E408. doi: 10.1002/ajh.25297. Epub 2018 Oct 26. PMID: 30264867

   22. Chen, Charles; Gordon, Brian Andrew; McCullough, Austin; Zaza, Aiad; Mejias, Christopher;
       Dincer, Aylin; Flores, Shaney; Keefe, Sarah; Paulick, Angela; Wang, Qing; Jackson, Kelley;
       Koudelis, Deborah; Su, Yi; Ponisio, Maria; Siegel, Barry; Zhao, Peinan; Sotiras, Aristeidis; Jha,
       Abhinav; Perrin, Richard; Morris, John; Wang, Yong; Benzinger, Tammie. Detecting tau PET
       positivity in Alzheimer’s disease without a priori assumptions about its frequency. Submitted
       Brain Communications 2020

   23. Maria Schwabe, Stanislav Spiridonov, Elizabeth L Yanik, Jack W Jennings, Travis Hillen,
       Maria Ponisio, Douglas J McDonald, Farrokh Dehdashti, Cara A Cipriano. How Effective Are
       Noninvasive Tests for Diagnosing Malignant Peripheral Nerve Sheath Tumors in Patients With

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      Neurofibromatosis Type 1? Diagnosing MPNST in NF1 Patients. Sarcoma 2019 Jul
      1;2019:4627521.

   24. Wang Q, Pérez-Carrillo GJG, Ponisio MR, LaMontagne P, Dahiya S, Marcus DS, Milchenko M,
       Shimony J, Liu J, Chen G, Salter A, Massoumzadeh P, Miller-Thomas MM, Rich KM,
       McConathy J, Benzinger TLS, Wang Y. Heterogeneity Diffusion Imaging of gliomas: Initial
       experience and validation. PLoS One. 2019 Nov 14;14(11):e0225093.

   25. Darryl K Miles, Maria R Ponisio, Ryan Colvin, David Limbrick, Jacob K Greenberg, Celeste
       Brancato, Jeffrey R Leonard, Jose A Pineda. Predictors of Intracranial Hypertension in Children
       Undergoing ICP Monitoring After Severe Traumatic Brain Injury. Childs Nerv Syst. 2020
       Jul;36(7):1453-1460.

   26. Maria R. Ponisio, Jonathan E. McConathy, Sonika Dahiya, Michelle M. Miller-Thomas, Keith
       M. Rich, Amber Salter, Qing Wang, Pamela J. LaMontagne, Gloria J. Guzmán Pérez-Carrillo,
       Tammie L. S. BenzingerDynamic 18F-FDOPA-PET/MRI for the preoperative evaluation of
       gliomas: Correlation with stereotactic histopathology (article in press) Neuro-Oncology Practice


Invited and Review Articles

   1. Ponisio MR, Fowler KJ, Dehdashti F. The Emerging Role of PET/MR Imaging in Gynecologic
      Cancers. PET Clin. 2016; 11:425-40.

   2. Ponisio MR, Dehdashti F. A Role of PET Agents Beyond FDG in Gynecology. Semin Nucl
      Med. 2019 Nov;49(6):501-511.

   3. Maria R. Ponisio, John M. Zempel, Brian K. Day, Lawrence N. Eisenman, Michelle M. Miller-
      Thomas, Matthew D. Smyth, R. Edward Hogan. The role of SPECT/CT and PET in epilepsy.
      AJR. Accepted: 03/ 2020

Book Chapters

   1. Ponisio MR, Diagnostico por imagenes en el paciente neurocritico pediatrico (Diagnostic
      Imaging of the Pediatric Patient in the Neuro Intensive Care). In: Garcia M, ed.
      Neurointensivismo Enfoque clinico, diagnostico y terapeutica (Neuro Intensive Care: Clinical
      Diagnostic Therapy). Buenos Aries, Argentina, Panamericana 2009 Chapter 63:659-668.

   2. Ponisio MR, Iranpour P, Khanna G, McConathy J. “PET/MRI for Clinical Pediatric Oncologic
      Imaging”, PET/MRI in Oncology: Current Clinical Applications: Iagaru A, Hope T, Veit-
      Haibach P, eds., Springer 2018, pp. 401-432.

   3. Eric P. Eutsler, Maria R. Ponisio, Geetika Khanna, Book Chaper, “Imaging in Pediatric
      Orthopaedics”, Lovell and Winter’s Pediatric Orthopaedics, 8th edition. April 2020.

   4. Ponisio MR, Benzinger Tammie. Hybrid PET/MR Neuroimaging - A Comprehensive Approach
      Section II. Radiotracers in Neurologic PET/MRI. Amyloid Imaging in Dementia and
      Neurodegenerative Disease (in press, 2021).


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   5. Ponisio MR, Benzinger Tammie. Hybrid PET/MR Neuroimaging - A Comprehensive Approach
      Section II. Radiotracers in Neurologic PET/MRI. FDOPA in movement disorders and neuro-
      oncology (in press, 2021).

   6. Ponisio MR, Benzinger Tammie. Hybrid PET/MR Neuroimaging - A Comprehensive Approach
      Section II. Radiotracers in Neurologic PET/MRI. TAU in dementias (2021, in press).



Abstracts
   1. Poniso MR, Ferrari CM, Bertolotti JJ. Developmental Abnormalities of the Central Nervous
      System Detected by Ultrasound in Neonatal Intensive Care Unit (NICU) 42th Argentine Congress
      of Radiology, 1996.

   2. Ponisio MR, Bertolotti JJ, Climent, GV, Constantino D, Schwerwenzel S. Head Trauma in the
      Neonatal Period, Ultrasound vs Computed Tomography, 8 th Congress of the World Federation
      for Ultrasound in Medicine and Biology, Buenos Aires, Argentina, 1997.

   3. Ponisio R, Begna D, Tadaro N, Saleme M, Pltzer C, Jaluf G, De La Rosa. Evaluation of the
      Traumatic Coma Data Bank Computed Tomography Classification in Pediatric Cranioencephalic
      Trauma. Argentine Congress of Radiology, Buenos Aires, Argentina, 1999.

   4. Ucar ME, Ponisio MR, Ibanez OJ, Gatti MC, Ferrari CM, Berolotti JJ. Niemann Pick Disease
      and HRCT of the Lungs, International Pediatric Radiology Meeting, Paris, France, 2001.

   5. Ponisio R, Ucar ME, Ibanez O. Cerebral Venous Thrombosis in Children. 49 th Argentine
      Congress of Radiology, 2003.

   6. Ucar ME, Ponisio MR, Ibanez O, Fernandez R, Gomez S, Fynn A. Pulmonary Mycosis in
      Pediatric Patients with Hematologic Immune Deficiency: Value of HRCT. 51 st Argentine
      Congress of Radiology, 2005.

   7. Pineda J, Capers C, Ponisio MR, Leonard J. CT Classification to Guide Therapeutic
      Intervention and Outcome Prediction in Children with Severe Traumatic Brain Injury The
      Second Joint Symposium of the International and National Neurotrauma Societies, Santa
      Barbara, California, USA, 2009.

   8. Lucero M, Ponisio MR, Herrero M. Merosin-Positive Congenital Muscular Dystrophy 53rd
      Argentine Congress of Neurology, Buenos Aires, Argentina, 2006.

   9. Ford AL, An H, Ponisio MR, Vo KD, Derdeyn CP; Powers WJ, Lin W, Lee J. Oxygen
      Metabolic Index Predicts Gray Matter Infarction Better Than Apparent Diffusion Coefficient and
      Mean Transit Time During Hyper-Acute Ischemic Stroke International Stroke Conference,
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